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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,
                                                          Criminal No. 15-210 (MJD/JSM)
                      Plaintiff,
                                                          PRELIMINARY ORDER
       v.                                                 OF FORFEITURE

(3) LETICIA REYES-RAMIREZ,

                      Defendant.

       Based on the United States’ motion for a Preliminary Order of Forfeiture; on the

Plea Agreement entered into between the United States and Defendant Leticia Reyes-

Ramirez; and on the Court’s determination that, based on the Information and Plea

Agreement entered into by the Defendant and based on all of the files and records of this

proceeding, the government has established the requisite nexus between such property

and the offense to which the Defendant has pled guilty,

       IT IS HEREBY ORDERED that:

       1.     The Motion of the United States for a Preliminary Order of Forfeiture

[Docket No. 149] is GRANTED;

       2.     The $781.47 in U.S. Currency is forfeited to the United States pursuant to

21 U.S.C. § 853(a);

       3.     The Attorney General or her authorized designee may seize and maintain

custody and control of the property pending the entry of a Final Order of Forfeiture;
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       4.     The United States shall, pursuant to 21 U.S.C. § 853(n)(1), publish and give

notice of this Order and its intent to dispose of the Property in such manner as the

Attorney General may direct;

       5.     Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary Order

of Forfeiture shall become final as to the defendant at the time of his sentencing, and

shall be made a part of his sentence and included in the criminal judgment;

       6.     Following the Court’s disposition of all petitions filed pursuant to 21

U.S.C. § 853(n)(2) or, if no petitions are filed, following the expiration of the time period

specified within which to file such petitions, the United States shall have clear title to the

Property and may warrant good title to any subsequent purchaser or transferee; and

       7.     This Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary pursuant to Fed. R. Crim. P. 32.2(e).


Dated: January 12, 2016                           s/ Michael J. Davis
                                                  MICHAEL J. DAVIS, Judge
                                                  United States District Court




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